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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

In re: BOY SCOUTS OF AMERICA
AND DELAWARE BSA, LLC,                         Chapter 11

                  Debtors.                     Bankruptcy Case No. 20-10343 (LSS)

                                               (Jointly Administered)
NATIONAL UNION FIRE INSURANCE
CO. OF PITTSBURGH, PA, et al.,

                                               Case No. 22-cv-01237-RGA
                Appellants,

                     v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                 Appellees.


         STATEMENT PURSUANT TO LOCAL RULE 7.1.1 RE:
      RENEWED EMERGENCY MOTION OF LUJAN CLAIMANTS
    FOR STAY PENDING APPEAL AND MOTION TO STAY APPEALS

      The undersigned hereby certifies that on August 18, 2023, undersigned

counsel for the Lujan Claimants was advised that counsel for the D&V Claimants,

who have filed a similar renewed motion for a stay pending appeal, had spoken

telephonically with counsel for the Debtors and that the Debtors would not consent

to a stay pending appeal. Subsequently, undersigned counsel emailed Delaware

counsel to the Debtors (with a cc to counsel to other parties-in-interest) and, while

offering to speak telephonically, asked counsel to the Debtors simply to confirm
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that Debtors would not consent to a stay pending appeal as to the Lujan Claimants

either. Counsel to the Debtors so confirmed via email.



DATED: August 18, 2023                      Respectfully submitted,

                                            /s/ Christopher D. Loizides
                                            Christopher D. Loizides
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                                            Delaware Counsel to Lujan
                                            Claimants




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